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                                                                         4                                  UNITED STATES DISTRICT COURT

                                                                         5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                                                         7     DOUGLAS O'CONNOR, et al.,                        Case No. 13-cv-03826-EMC

                                                                         8                   Plaintiffs,                        Case No. 15-cv-00262-EMC

                                                                         9             v.
                                                                                                                                ORDER RE SUPPLEMENTAL
                                                                         10                                                     BRIEFING ON PLAINTIFFS’ MOTION
                                                                               UBER TECHNOLOGIES, INC., et al.,                 FOR PRELIMINARY APPROVAL
                                                                         11                  Defendants.
                                                                                                                                O’Connor, Docket No. 518
                                                                         12    HAKAN YUCESOY, et al.,                           Yucesoy, Docket No. 206
United States District Court
                               For the Northern District of California




                                                                         13                  Plaintiffs,
                                                                         14            v.
                                                                         15    UBER TECHNOLOGIES, INC., et al.,
                                                                         16                  Defendants
                                                                         17

                                                                         18          Plaintiffs must file their supplemental Private Attorney General Act (PAGA) notice, sent
                                                                         19   on April 21, 2016, by 12:00 Noon, Wednesday, June 1, 2016. See Docket No. 611 at 16 n. 14.
                                                                         20          The parties must also explain the current status of the December 2015 arbitration
                                                                         21   agreement, including:

                                                                         22          (1)    To how many drivers has the December 2015 arbitration agreement been

                                                                         23   disseminated in California, Massachusetts, and the United States as a whole?

                                                                         24          (2)    Which arbitration agreement has Uber been distributing since the Court’s Rule

                                                                         25   23(d) order of December, 2015 was issued, and how many drivers have received that arbitration

                                                                         26   agreement?

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                                                                         1          The parties’ response is also due by 12:00 Noon, Wednesday, June 1, 2016.

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                                                                         3          IT IS SO ORDERED.

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                                                                         5    Dated: May 31, 2016

                                                                         6                                                ______________________________________
                                                                                                                          EDWARD M. CHEN
                                                                         7                                                United States District Judge
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United States District Court
                               For the Northern District of California




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